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                         Supreme Court of the United States
                                Office of the Clerk
                            Washington, DC 20543-0001
                                                                               Scott S. Harris
                                                                               Clerk of the Court
                                                                               (202) 479-3011
                                          February 20, 2024


           Clerk
           United States Court of Appeals for the Fourth
           Circuit
           1100 East Main Street
           Room 501
           Richmond, VA 23219


                 Re: Matthew O'Reilly
                     v. Adam Tsottles, et al.
                     No. 23M55
                     (Your No. 21-1194)


           Dear Clerk:

                 The Court today entered the following order in the above-entitled case:

                  The motion to direct the Clerk to file a petition for a writ of certiorari
           out of time is denied.



                                                    Sincerely,




                                                    Scott S. Harris, Clerk
